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 5   E-mail: drands@ag.nv.gov
 6   Attorneys for Defendants
     Romeo Aranas, Beebe Clark, James Cox, James Dzurenda,
 7   Leilani Flores, Jo Gentry and Dwight Neven
 8                                  UNITED STATES DISTRICT COURT

 9                                         DISTRICT OF NEVADA

10   ELIZABETH CARLEY,
                                                                Case No. 2:17-cv-02346-MMD-CLB
11                    Plaintiff,
12   v.                                                  STIPULATION FOR EXTENSION OF TIME
                                                             TO FILE DISPOSITIVE MOTIONS
13   WARDEN NEVEN, et al.,                                           (Second Request)
14                    Defendants.
15          Plaintiff, Elizabeth Carley, by and through counsel, Lisa A. Rasmussen, and Defendants, Romeo
16   Aranas, Beebe Clark, James Cox, James Dzurenda, Leilani Flores, Jo Gentry and Dwight Neven, by and
17   through counsel, Aaron D. Ford, Attorney General of the State of Nevada, and Douglas R. Rands, Senior
18   Deputy Attorney General, hereby stipulate to extend the deadline to file dispositive motions to January
19   18, 2022. The Court, in ECF 45, established that dispositive motions were to be filed by October 31,
20   2021. October 31, 2021 was a Sunday. A previous extension was granted by this Court. ECF No.75.
21          Counsel for the Defendants has had an extremely busy November. Counsel was involved, in
22   addition to his usual practice, with an evidentiary hearing in Las Vegas in the death penalty case of Zane
23   Floyd v NDOC. Counsel has also completed dispositive motions in 3 other cases and is preparing for a
24   jury trial in December. Therefore, the dispositive motion, in this matter, has not been completed. With
25   the holidays approaching, Counsel for the Defendants requests additional time to complete the motion.
26          On November 30, 2021, Counsel for Plaintiff and Counsel for the Defendants had an email
27   exchange in which the extension was agreed upon. Accordingly, the parties hereby stipulate to extend
28   ///

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 1   the deadline to file dispositive motions from November 30, 2021 to January 18. 2022.    The parties
 2   respectfully request the Court grant the request, and extend the deadline.
 3

 4   DATED this 30th day of November, 2021                DATED this 30th day of November, 2021

 5   LISA A. RASMUSSEN, ESQ.                              AARON D. FORD
     Law Offices of Kristina Wildeveld & Assoc.           Attorney General
 6

 7

 8   By: /s/ Lisa A. Rasmussen                               By: /s/ Douglas R. Rands
         LISA A. RASMUSSEN, Bar No. 7491                         DOUGLAS R. RANDS, Bar No. 3572
 9                                                               Senior Deputy Attorney General
          Attorney for Plaintiff                                 Attorneys for Defendants
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                                                               IT IS SO ORDERED.
14
                                                               Dated: December 1, 2021
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                                                               UNITED STATES MAGISTRATE JUDGE
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 1                                      CERTIFICATE OF SERVICE
 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
 3   on this 30th day of November, 2021, I caused to be served a copy of the foregoing, STIPULATION
 4   FOR EXTENSION OF TIME TO FILE DISPOSITIVE MOTIONS (Second Request), by U.S.
 5   District Court CM/ECF Electronic Filing to:
 6   Lisa A. Rasmussen, Esq.
     The Law Offices of Kristina Wildeveld & Associates
 7   550 E. Charleston Blvd., Suite A
     Las Vegas, NV 89104
 8   lisa@veldlaw.com
 9

10                                                 /s/ Roberta W. Bibee
                                                   An employee of the Office of the
11                                                 Nevada Attorney General
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